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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

  STATE OF MAINE,

                Plaintiff,

         v.
                                                   No. 1:25-cv-00131-JAW

  UNITED STATES DEPARTMENT OF
  AGRICULTURE and BROOKE ROLLINS,
  in Her Official Capacity as Secretary of
  Agriculture,

                Defendants.


  JOINT MOTION TO EXTEND TRO PURSUANT TO FED. R. CIV. P. 65(B)(2)

        NOW COMES Plaintiff, the state of Maine, and Defendants, the United States

 Department of Agriculture and Secretary of Agriculture Brooke Rollins, and hereby

 jointly request that the Temporary Restraining Order entered in this matter (Dkt. #12)

 be extended and that the scheduling of a preliminary injunction hearing be held in

 abeyance pending such requested extension.

        The Temporary Restraining Order was entered on April 11, 2025, and “expires at

 the time after entry—not to exceed 14 days—that the court sets, unless before that time

 the court, for good cause, extends it for a like period or the adverse party consents to a

 longer extension.” FED. R. CIV. P. 65(b)(2). The parties have met and conferred, and as a

 result of such discussions, jointly submit that extension of the Temporary Restraining

 Order for a “like period” (id.) until May 9, 2025, will assist the parties’ further

 discussions, conserve resources, and promote the interests of judicial economy.

 Defendants expressly consent to such extension, and affirm that the subject USDA

 funding will remain unfrozen and released during the extended period of the pendency
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 of the Temporary Restraining Order.

       WHEREFORE, the parties jointly request that the Temporary Restraining Order

 be extended until May 9, 2025, and that the scheduling of a preliminary injunction

 hearing be held in abeyance pending such requested extension.


 Dated: April 15, 2025                   Respectfully submitted,

                                         CRAIG M. WOLFF
                                         Acting United States Attorney

                                          /s/ ANDREW K. LIZOTTE
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                                         Counsel for Defendants


                                         Respectfully submitted,




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                              CERTIFICATE OF SERVICE
        I hereby certify that on April 15, 2025, I caused the foregoing to be electronically
 filed with Clerk of Court using the CM/ECF system, which sent such notice to any
 individuals and entities who have entered appearances in this case to date, pursuant to
 the Court’s ECF system.


                                                  CRAIG M. WOLFF
                                                  Acting United States Attorney


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